                                                                                               United States District Court
                                                                                                 Southern District of Texas

                                                                                                    ENTERED
                                UNITED STATES DISTRICT COURT                                        April 07, 2025
                                 SOUTHERN DISTRICT OF TEXAS                                      Nathan Ochsner, Clerk
                                    BROWNSVILLE DIVISION

DANIEL ENRIQUE ZACARIAS MATOS,                         §
                                                       §
        Petitioner,                                    §
                                                       §
VS.                                                    §   CIVIL ACTION NO. 1:25-CV-057
                                                       §
FRANCISCO VENEGAS, et al.,                             §
                                                       §
        Respondents.                                   §

             PRELIMINARY INJUNCTION AND SCHEDULING ORDER

        On March 15, 2025, the Court issued a Temporary Restraining Order (Doc. 3) that

enjoined Respondents from “transferring or relocating Daniel Enrique Zacarias Matos from the

El Valle Detention Center, [or] transporting [him] outside of Willacy County or Cameron County,

Texas, without an Order from the Court.” The Court has extended the TRO, most recently to April

7, 2025, at 4:00 p.m. (central standard time). (See Order, Doc. 18)

        The Respondents have represented that Petitioner is subject to a Proclamation by the

President of the United States, issued on March 14, 2025, and proclaiming “that all Venezuelan

citizens 14 years of age or older who are members of TdA [Tren de Aragua], are within the United

States, and are not actually naturalized or lawful permanent residents of the United States are

liable to be apprehended, restrained, secured, and removed as Alien Enemies.” Respondents

claim that Petitioner is a member of TdA. Petitioner denies that he is.

        On April 7, 2025, the Court held a telephonic conference, during which the Petitioner and

Respondents proposed an agreed briefing schedule regarding certain issues that this lawsuit

raises, focused on whether Petitioner is a member of TdA.1 The Parties proposed that the Court

schedule an evidentiary hearing after the completion of briefing to consider those issues. The



1 The ongoing litigation in J.G.G., et al. v. Donald J. Trump, In His Capacity as President of the United

States, et. al., No. 1:25-cv-766 (D.D.C. 2025) may affect other issues that Petitioner’s lawsuit raises.
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Government agreed to the conversion of the Temporary Restraining Order into a Preliminary

Injunction through the date of the proposed evidentiary hearing.

       Based on the record and the applicable law, the Court finds that good cause supports the

establishment of a briefing schedule on the issues indicated below, followed by an evidentiary

hearing on the issue of whether Petitioner is a member of TdA. Thus, it is:

       ORDERED that by no later than April 14, 2025, the Petitioner shall file a Brief addressing

whether he is a member of TdA, the standard that the Court should apply in determining whether

Petitioner is a member of TdA, whether the Federal Rules of Evidence apply to the evidentiary

hearing, and any other issues that Petitioner believes are relevant to the determination of whether

he is a member of TdA;

       ORDERED that by no later than April 21, 2025, the Respondents shall file a Response to

the issues raised in the Petitioner’s Brief and any other issues that Respondents believe are

relevant to the determination of whether Petitioner is a member of TdA;

       ORDERED that by no later than April 28, 2025, the Petitioner may file a Reply brief on

the issues previously briefed; and

       ORDERED that the parties shall appear for an evidentiary hearing on Monday, May 5,

2025, at 9 a.m. The District Clerk’s Office shall provide a staff interpreter for any individual called

as a witness who requires a Spanish interpreter.

       The Court also finds that under Federal Rule of Civil Procedure 65, good cause exists to

convert the Temporary Restraining Order currently in effect into a Preliminary Injunction. Based

on the record, the agreement of the parties, and the applicable law, the Court finds that a

Preliminary Injunction will ensure that the status quo is maintained through the evidentiary

hearing and the Court’s consideration of the issues raised at that hearing. As a result, it is also:

       ORDERED that the Respondents are enjoined from transferring or relocating Daniel

Enrique Zacarias Matos from the El Valle Detention Center, and are enjoined from transporting


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Daniel Enrique Zacarias Matos outside of Willacy County or Cameron County, Texas, without an

Order from the Court.

       This Preliminary Injunction shall expire on the earlier of 4:00 p.m. (central time) on

Monday, May 12, 2025, or by Order of the Court.

       In addition, for the reasons stated on the record at the April 7, 2025 hearing, the Court

finds that no security is required under Federal Rule of Civil Procedure 65(c). See Kaepa, Inc. v.

Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (noting that a court “may elect to require no

security at all” under Rule 65(c)). The Respondents retain the right to move for the Court to

require Petitioner to post security under Rule 65(c).

       Signed on April 7, 2025.


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                                                        Fernando Rodriguez, Jr.
                                                        United States District Judge




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